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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA


  THE UNITED STATES OF AMERICA, and

  THE STATES OF CALIFORNIA, COLORADO,
  CONNECTICUT, DELAWARE, FLORIDA,                                 CASE NO. 3:17-cv-10
  GEORGIA, HAWAII, ILLINOIS, INDIANA, IOWA,
  LOUISIANA, MARYLAND, MASSACHUSETTS,
  MICHIGAN, MINNESOTA, MONTANA,
  NEVADA, NEW HAMPSHIRE, NEW JERSEY,
  NEW MEXICO, NEW YORK, NORTH
  CAROLINA, OKLAHOMA, RHODE ISLAND,
  TENNESSEE, TEXAS, VERMONT, VIRGINIA,
  AND WASHINGTON; THE DISTRICT OF
  COLUMBIA; THE COUNTY OF ALLEGHENY;
  AND THE CITIES OF CHICAGO, NEW YORK,
  AND PHILADELPHIA,

  ex rel. JOEL STEVENS

                            Plaintiffs,

  v.

  ATRICURE INC., ST. HELENA HOSPITAL, AND
  ADVENTIST HEALTH;

                            Defendants.


                          ATRICURE’S MOTION TO TRANSFER

       Pursuant to 28 U.S.C. § 1404(a) and Local Rule 7.1, Defendant AtriCure, Inc. (“AtriCure”)

respectfully moves to transfer this action to the U.S. District Court for the Southern District of

Ohio, where documents, witnesses, and AtriCure’s headquarters are located. This motion is made

with the consent and support of co-Defendants Adventist Health and St. Helena. The

Memorandum in Support of this Motion is filed contemporaneously herewith.

       As required by Local Rule 7.1(b), AtriCure certifies that it has conferred with counsel for



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Relator Joel Stevens and Defendants Adventist Health and St. Helena Hospital before filing this

Motion. Counsel for Relator represents that he opposes this Motion.



       Respectfully submitted this 3rd day of September, 2021.

                                                   s/ Brian S. Cromwell_____________________
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                                                   Eric A. Frick
                                                   N.C. State Bar No. 49212
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                                                   Counsel for Defendant AtriCure, Inc.




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing ATRICURE’S MOTION

TO TRANSFER was electronically filed with the Clerk of the Court using the CM/ECF system

and served upon counsel of record through the Court’s electronic case filing system.



       This 3rd day of September, 2021.

                                                   s/ Brian S. Cromwell_____________________
                                                   Brian S. Cromwell
                                                   N.C. State Bar No. 23488
                                                   Eric A. Frick
                                                   N.C. State Bar No. 49212
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